                                Case 19-14173            Doc 33       Filed 07/18/19           Page 1 of 4
                                               United States Bankruptcy Court
                                                   District of Maryland
In re:                                                                                                     Case No. 19-14173-WIL
Janet Stacy Kaplan                                                                                         Chapter 7
Michael Richard Kaplan
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0416-0                  User: mrybczyns                    Page 1 of 1                          Date Rcvd: Jul 16, 2019
                                      Form ID: pdfall                    Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 18, 2019.
db/db          +Janet Stacy Kaplan,   Michael Richard Kaplan,   3643 Islington Street,
                 Frederick, MD 21704-7009
r              +Patrick Butler,   BK Global Real Estate Services,   1095 Broken Sound Parkway, NW,   Suite 200,
                 Boca Raton, FL 33487-3503

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
               +E-mail/Text: ustpregion04.gb.ecf@usdoj.gov Jul 16 2019 20:56:18     Office of the US Trustee,
                 6305 Ivy Lane, Ste 600,   Greenbelt MD 20770-6305
                                                                                            TOTAL: 1

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 18, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 15, 2019 at the address(es) listed below:
              Kevin K. Shipe   bk@shipebushlaw.com, shannon@shipebushlaw.com,ShipeBush@jubileebk.net
              Lynn A. Kohen   lynn.a.kohen@usdoj.gov
              Merrill Cohen    trustee@cohenbaldinger.com, mcohen@ecf.axosfs.com
              Ruth O. Katz   rokatz@lerchearly.com, kdlevy@lerchearly.com
              US Trustee - Greenbelt   USTPRegion04.GB.ECF@USDOJ.GOV
                                                                                            TOTAL: 5
Entered: July 15th, 2019
                           Case 19-14173       Doc 33     Filed 07/18/19      Page 2 of 4
Signed: July 15th, 2019

SO ORDERED




                                     UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF MARYLAND
                                              Greenbelt Division

         In re:                                    )
                                                   )
         JANET STACY KAPLAN                        )                    Case No. 19-14173-WIL
         MICHAEL RICHARD KAPLAN                    )                    Chapter 7
                                                   )
                     Debtors                       )
         __________________________________________)

              ORDER AUTHORIZING THE CHAPTER 7 TRUSTEE TO RETAIN BK GLOBAL
               REAL ESTATE SERVICES AND 6758&785('5($/7<//& TO PROCURE
                CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §§327, 328 AND 330

                   Upon the Application of Merrill Cohen, the trustee in the above-captioned case

         (“Trustee”), to Retain BK Global Real Estate Services and Structured Realty, LLC to Procure

         Consented Public Sale pursuant to 11 U.S.C. §§327, 328 and 330 (the “Application”), and the

         Court having reviewed and considered the Application and the Affidavit of Disinterestedness and

         found the same to be in the best interest of the Debtors and creditors of the estate, and having

         found good and sufficient cause to grant the requested relief, the United States Bankruptcy Court

         for the District of Maryland the Court hereby FINDS as follows:

                    A.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157(b)(2).

                    B.     Venue of this Chapter 7 case and the Application is proper pursuant to 28 U.S.C.

         §§ 1408 and 1409.
                                                           -1-
                   Case 19-14173           Doc 33       Filed 07/18/19         Page 3 of 4



          C.       Notice of the Application was adequate and proper under the circumstances.

          D.       BKRES 1 and Listing Agent are disinterested persons within the meaning of

Bankruptcy Code Section 101(14).

                   ACCORDINGLY, based upon the foregoing findings of fact, it is by the United

States Bankruptcy Court for the District of Maryland

          ORDERED, that the Application be and is hereby GRANTED, and it is further

          ORDERED, that the Trustee is authorized to retain and compensate BKRES and local

licensed Listing Agent to provide the necessary professional assistance and representation

required by the Trustee to fulfill the Trustee’s duties pursuant to 11 U.S.C. §704 in order to

procure Secured Creditor’s Consent, and otherwise market and sell the Property, in Debtors’

Chapter 7 case pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code, and

Bankruptcy Rules 2014 and 2016, in accordance with the terms and conditions set forth in the

BKRES Agreement, the Listing Agreement and this Order. BKRES and Listing Agent shall not

split or otherwise share their fees with any other person or entity, and it is further

          ORDERED, that BKRES and Listing Agent shall be compensated in accordance with the

BKRES Agreement and Listing Agreement, respectively, and such compensation shall not

hereafter be subject to challenge except under the standard of review set forth in Section 330 of

the Bankruptcy Code, and it is further

          ORDERED, that BKRES and Listing Agent shall be authorized to receive and retain their

fees from Secured Creditor at the successful closing of the sale of the Property without necessity

of further order of the Court. The estate shall, in no circumstance, be obligated to compensate

BKRES or Listing Agent in such event and BKRES and Listing Agent shall not have a claim
1
    Defined terms not otherwise defined herein have the meanings given to them in the Application and the Affidavit.
                                                         -2-
               Case 19-14173         Doc 33     Filed 07/18/19      Page 4 of 4



against the estate for any unpaid amounts. BKRES and Listing Agent, and anyone claiming by,

through or under either of them, shall only have recourse for recovering its fee to Secured

Creditor. The estate shall have no liability for any such claim, and it is further

       ORDERED, that the Trustee is hereby authorized to engage Brokers BKRES and Listing

Agent to provide reasonable and necessary property preservation, maintenance, and upkeep

services to the subject estate Property to facilitate the sale of the Property for the benefit of the

Secured Creditor(s) and bankruptcy estate, and to reimburse the Brokers in a maximum amount

not to exceed $500.00 for the approved reasonable, necessary costs and expenses of preserving,

or disposing of, the subject Property, without the need for further Order, and it is further

       ORDERED, that the Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation of this Order.

cc:

Merrill Cohen, Trustee
Debtor
Debtor’s Attorney
United States Trustee
                                         END OF ORDER




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